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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                          )
      v.                                  )                                        No. 20-mj-56 (GMH)
                                          )                                        No. 20-mj-59 (GMH)
AMINA WASHINGTON-BEY                      )                                        No. 20-mj-63 (GMH)
                                          )                                        No. 20-mj-175 (GMH)
      Defendant.                          )
__________________________________________)

                            MEMORANDUM OPINION AND ORDER

        This matter comes before the Court upon the application of the United States that the

conditions of Defendant Amina Washington-Bey’s pretrial release be revoked and that he be

detained pending trial. After conducting a hearing pursuant to 18 U.S.C. § 3148(b) on September

9, 2020, the government’s motion was granted. This Memorandum Opinion and Order supplies

written findings of fact and supplements the oral explanation for that decision.

                                       I.       BACKGROUND 1

        A.      Facts Prior to the Instant Offenses

        Around November 2014, Defendant was arrested for jumping a security barrier near the

White House. A year later, he was found in possession of a knife after jumping a White House

Complex 2 security barrier. Throughout 2016, the Secret Service observed him around the White

House multiple times; he once carried a sign threatening to blow up federal buildings. He was

arrested twice in 2017 for violating a White House Complex stay-away order. In June 2018, he

was again arrested for jumping a White House Complex security barrier.


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  The facts contained herein are based on the government’s factual proffer in its motion to revoke Defendant’s
conditions of release. See generally 20-mj-56, ECF No. 22; 20-mj-59, ECF No. 22; 20-mj-63, ECF No. 20.
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 The White House Complex—which includes, among other things, the White House Mansion and the White House
grounds—is a restricted area in Washington, D.C.
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       B.      Facts Regarding the Instant Offenses

       On April 5, 2020, Secret Service Officer George Zaki observed Defendant walking around

the area of the Ellipse, located in front of the White House. Officer Zaki saw Defendant approach

a security barrier and begin to climb it, grabbing the metal fencing on top and pulling himself off

the ground. Officer Zaki commanded Defendant to stop climbing the barrier and get on the ground;

Defendant complied with those orders and was placed under arrest. On April 6, 2020, the

government sought and obtained a complaint charging Defendant with Entering or Remaining in

Restricted Building or Grounds in violation of 18 U.S.C. § 1752(a)(1) and with Unlawful Entry in

violation of D.C. Code § 22-3302(b) (the “section 1752 case”).

       At Defendant’s initial appearance on April 6, 2020, the government orally requested that

Defendant be released with conditions. That motion was granted, and Defendant was released

with the following conditions, among others: he was to maintain his mental health medication

regimen as directed by Pretrial Services and stay away from the White House Complex (“the stay-

away area”), and he was not to be rearrested on probable cause.

       Three days later, Secret Service Officer Austin Huntington was walking in a location

within the stay-away area when he observed Defendant hiding behind a pillar. After confirming

that Defendant had been ordered to stay away from that area, Officer Huntington placed Defendant

under arrest. On April 10, 2020, the government sought and obtained a complaint charging

Defendant with contempt of court in violation of 18 U.S.C. § 401(3).

       At Defendant’s initial appearance in that case on April 10, 2020, the government again

orally requested that Defendant be released with conditions, as defense counsel indicated that

Defendant’s failure to comply with the conditions of release was due to his inability to obtain his

medication for reasons outside his control. That motion was granted, and Defendant was released



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on the same conditions as before, including that he maintain his mental health medication regimen,

stay away from the White House Complex, and not be rearrested on probable cause.

        One week later, Secret Service Officer Ryan Mangum observed Defendant in a location

within the stay-away area. Officer Mangum recognized Defendant and had prior knowledge of

the stay-away orders. Upon questioning from Officer Mangum, Defendant acknowledged that he

knew he was not supposed to be in that area. After confirming Defendant’s identity and the

existence of the stay-away orders, Officer Mangum placed Defendant under arrest. Thereafter,

Defendant was interviewed by two other Secret Service agents. Most relevant here, he told them

that he had not been compliant with his mental health medication regimen and that he had not

opened the medication he had received. On April 18, 2020, the government sought and obtained

another complaint charging Defendant with contempt of court in violation of 18 U.S.C. § 401(3).

        At Defendant’s initial appearance in that case on April 20, 2020, the government orally

requested that Defendant be temporarily detained under 18 U.S.C. § 3142(d)(1)(A)(iii) due to a

detainer issued by the Parole Commission for a violation of his post-conviction supervised release

in a D.C. Superior Court case. The government also notified the Court that it intended to file a

motion to revoke Defendant’s conditions of release pursuant to 18 U.S.C. § 3148 and requested a

competency evaluation. The Court granted the temporary detention and ordered a competency

evaluation. On April 28, 2020, the government filed a motion to revoke Defendant’s conditions

of release.

        On May 15, 2020, the Court held a joint competency hearing and hearing on the conditions

of release. At that hearing, the Court found Defendant competent, denied the government’s motion




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to revoke Defendant’s conditions of release, and ordered that Defendant be released subject to the

same conditions as before. 3

        On September 5, 2020, Secret Service Sergeant Andrew Ward observed Defendant in front

of the Willard Hotel, a location within the stay-away area. Sergeant Ward had prior knowledge of

Defendant and of the stay-away orders, and he began speaking with Defendant. Secret Service

Officer Jabari Gilliam then arrived at the scene. Officer Gilliam saw Defendant give Sergeant

Ward an identification card, and he heard Defendant say that he “did not have any weapons but

had mace for protection.” The officers found Defendant to be in possession of pepper spray. After

confirming Defendant’s identity and the existence of the stay-away orders, Officer Gilliam placed

Defendant under arrest for contempt.

        Upon subsequent questioning with other members of the Secret Service, Defendant stated

that he is currently homeless and was out on a walk when he was stopped by Sergeant Ward. He

also stated that he was unaware there were active stay-away orders and that he did not realize he

was prohibited from being in that area. When asked about his mental health history, he claimed

that it been approximately 2 to 3 weeks since he had last visited the Comprehensive Psychiatric

Emergency Program and approximately 1 to 2 weeks since he had last visited his mental health

outpatient program.        He further noted that he had last taken his prescribed medications

approximately 2 or 3 days prior to September 5; he was unable to recall the names of his

prescriptions.

        On September 5, 2020, the government sought and obtained a third complaint charging

Defendant with contempt of court in violation of 18 U.S.C. § 401(3). Furthermore, in light of his




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 Although Defendant was released for purposes of his federal court cases, he continued to be detained until June 5,
2020, due to the Parole Commission’s detainer.

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September 5 arrest, on September 7, 2020, the government again moved to revoke Defendant’s

conditions of release in his section 1752 case and in his two other contempt cases.

       On September 9, 2020, the undersigned held a joint initial appearance for Defendant’s

September 5 arrest and a status hearing on his section 1752 case and on his two other contempt

cases. At the conclusion of that joint initial appearance and status hearing, the undersigned granted

the government’s motion to revoke Defendant’s conditions of release and ordered that he be held

without bond pending trial.

                                  II.     LEGAL STANDARD

       “The Bail Reform Act of 1984, 18 U.S.C. § 3141 et seq., permits the revocation of release

and an order of detention for a person who has been released under 18 U.S.C. § 3142 and has

violated a condition of that release.” United States v. Koumbairia, No. 07-cr-0061 (JDB), 2007

WL 1307909, at *2 (D.D.C. May 3, 2007) (quoting United States v. Addison, 984 F. Supp. 1, 2

(D.D.C. 1997)). The Court “shall enter an order of revocation and detention” if, after a hearing, it

       (1) finds that there is—

       (A) probable cause to believe that the person has committed a Federal, State, or
       local crime while on release; or

       (B) clear and convincing evidence that the person has violated any other condition
       of release; and

       (2) finds that—

       (A) based on the factors set forth in [18 U.S.C.] 3142(g) . . . , there is no condition
       or combination of conditions of release that will assure that the person will not flee
       or pose a danger to the safety of any other person or the community; or

       (B) the person is unlikely to abide by any condition or combination of conditions
       of release.

18 U.S.C. § 3148(b). At issue here is whether there is clear and convincing evidence that

Defendant violated a condition of his release and, if so, whether he would be unlikely to abide by


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any condition or combination of conditions in the future. See 20-mj-56, ECF No. 22 at 9; 20-mj-

59, ECF No. 22 at 9; 20-mj-63, ECF No. 20 at 9.

                                     III.    DISCUSSION

       To begin, there is clear and convincing evidence that Defendant violated the conditions of

his release on September 5, 2020. Specifically, two members of the Secret Service—Sergeant

Ward and Officer Gilliam—observed and spoke with Defendant while he was standing in front of

the Willard Hotel, a location that is near the White House and is undisputedly within the stay-away

area as described in the release orders in Defendant’s section 1752 case and in his two other

contempt cases. Sergeant Ward confirmed Defendant’s identity by checking his identification

card, and Officer Gilliam confirmed the existence of the active stay-away orders prohibiting

Defendant from being in that area.

       Next, it is unlikely that Defendant would abide by any condition or combination of

conditions of release. Prior to allegedly committing the underlying offense in his section 1752

case, Defendant was arrested multiple times for attempting to enter the White House Complex,

and he repeatedly violated an order that he stay away from that area. Since then, Defendant has,

on three occasions, violated the conditions of his release, despite being given three opportunities

by the Court to comply with those conditions. That Defendant does not appear to be adhering to

his mental health medication regimen, as ordered by the Court, increases the possibility that he

would violate any conditions of release in the future. Additionally, the undersigned is troubled by

the fact that Defendant has, on at least two occasions, been in or near the White House Complex

while possessing weapons—namely, in November 2015, he was found to be in possession of a

knife after jumping a White House Complex security barrier, and during his September 5, 2020,

arrest, he was in possession of pepper spray. Possessing weapons in or near restricted areas—



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especially while attempting to enter restricted areas unlawfully—greatly increases the risk of harm

to Defendant, to members of the Secret Service, and to others in the immediate area. Thus, the

undersigned has no confidence that Defendant would be likely to abide by any condition or

combination of conditions of release.

                                        IV.   CONCLUSION

        Based on consideration of all the evidence, the standards set forth in section 3141(b) of the

Bail Reform Act, and all lesser restrictive alternatives to pretrial detention, the Court finds by clear

and convincing evidence that Defendant violated the conditions of his release, and also finds that

Defendant would be unlikely to abide by any condition or combination of conditions of release in

the future. Accordingly, it is hereby

        ORDERED that the government’s motion to revoke Defendant’s conditions of release in

Case Nos. 20-mj-56, 20-mj-59, and 20-mj-63, is GRANTED; it is further

        ORDERED that Defendant be held without bond pending trial in Case No. 20-mj-175; it

is further

        ORDERED that Defendant be remanded to the custody of the Attorney General or to the

Attorney General’s designated representative for confinement in a corrections facility separate, to

the extent practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. Defendant must be afforded reasonable opportunity for private consultation with defense

counsel. On order of a court of the United States or on request of an attorney for the government,

the person in charge of the corrections facility must deliver Defendant to a United States Marshal

for the purpose of an appearance in connection with a court proceeding.

        SO ORDERED.




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                                                     2020.09.11
Date: September 11, 2020                             09:01:08 -04'00'
                                   ___________________________________
                                   G. MICHAEL HARVEY
                                   UNITED STATES MAGISTRATE JUDGE




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